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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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 KWIK TICKET INC.,                                         :
 by its 50% owner, FLORENCE SHAMAH,                        :
 and FLORENCE SHAMAH, Individually,                        :   Case No. 20-cv-01201-FB-SJB
                                                           :
                                     Plaintiff,            :
                                                           :
                    -against-                              :
                                                           :
 LARRY SPIEWAK, et al.,                                    :
                                                           :
                                     Defendants.           X
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            NOTICE OF MOTION OF THE SPIEWAK DEFENDANTS’
      MOTION TO COMPEL, MOTION TO DISMISS, AND MOTION TO STRIKE


        PLEASE TAKE NOTICE that upon the annexed Declaration of Samuel Kadosh dated

July 9, 2021, together with the exhibit annexed thereto, and the accompanying memorandum of

Law dated July 9, 2021, Defendants Larry Spiewak, Mindy Spiewak, and Malkah Jacobovits (“the

Spiewak Defendants”) will move this Court, before the Honorable Frederic Block, United States

District Judge for the Eastern District of New York, in Courtroom 10C, of the Federal Courthouse,

225 Cadman Plaza East, Brooklyn, NY 11201, at a date and time to be determined by the Court,

for an order, pursuant to (i) Sections 3 and 4 of the Federal Arbitration Act, compelling Plaintiff

to arbitrate this dispute, (ii) Rule 12(b)(6) of the Federal Rules of Civil Procedure, granting

dismissal with prejudice of Counts I, II, XII, and XIV of Plaintiff’s Amended Complaint; and (iii)

Federal Rule of Civil Procedure 12(f) striking Paragraphs 49-53 of the Amended Complaint and

corresponding Exhibits N and O, and (iv) and such other and further relief as this Court deems just

and proper.
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       PLEASE TAKE FURTHER NOTICE that, pursuant to the Court’s June 21, 2021 Order,

any opposition briefs shall be served on or before August 9, 2021, and any reply briefs shall be

served on or before August 30, 2021.




Dated: New York, New York
       July 9, 2021
                                            REED SMITH LLP



                                            By: /s/ Samuel Kadosh
                                                Joseph Tuso
                                                Samuel Kadosh
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                                                Attorneys for Defendants
                                                Larry Spiewak, Mindy Spiewak, and Malkah
                                                Jacobovits




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